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AO 245B (CASDRev. 08/13) Judgment in a Criminal Case
                                                                                                              FILED
                                                                                                              MAR 14 2017
                                      UNITED STATES DISTRICT Co
                                                                                                        CLERK, U.S. DISTRICT COURT
                                         SOUTHERN DISTRICT OF CALIFORNIA                             SOUTHERN DISTRICT OF CALIFORNIA
                                                                                        BY                                    DEPUTY
             UNITED STATES OF AMERICA                               JLTDGMENT IN A C..... ,.".
                                 V.                                 (For Offenses Committed On or After November 1,1987)
            JOSE V ARGAS-MIRAMONTES (2)
                                                                       Case Number:         17CR0577-BAS

                                                                    MARTHA MCNAB HALL
                                                                    Defendant's Attorney
REGISTRATION NO.                 60400298
D
C8l pleaded guilty to count(s)         COUNT (2) OF THE INFORMATION

      was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                     Count
Title & Section                   Nature of Offense                                                                 Number(sl
8 USC 1324(a)(1 )(A)(ii)          TRANSPORTAnON OF ILLEGAL ALIENS                                                         2




     The defendant is sentenced as provided in pages 2 through                2            ofthis judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
      The defendant has been found not guilty on count(s)

D     Count(s)                                                is          dismissed on the motion of the United States.

C8l   Assessment: $100.00 WAIVED



C8l   No fine                     Forfeiture pursuant to order filed                                          , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant's economic circumstances.


                                                                    MARCH 13. 2017
                                                                    Dareofmw~e ~

                                                                   HON.      CYN~IA         BASHAN
                                                                   UNITED STATES DISTRICT JUDGE



                                                                                                                  17CR0577-BAS
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AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

DEFENDANT:                JOSE VARGAS-MIRAMONTES (2)                                               Judgment - Page 2 of2
CASE NUMBER:              17CR0577-BAS



                                                 IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 TIME SERVED




       Sentence imposed pursuant to Title 8 USC Section 1326(b).
 o     The court makes the following recommendations to the Bureau of Prisons:




       The defendant is remanded to the custody of the United States Marshal.

       The defendant shall surrender to the United States Marshal for this district:
       o     at                            A.M.               on
                ------------------
             as notified by the United States Marshal.
                                                                   ------------------------------------
       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 o     Prisons:
       o     on or before
             as notified by the United States Marshal.
             as notified by the Probation or Pretrial Services Office.

                                                       RETURN
 I have executed this judgment as follows:

       Defendant delivered on
                                -------------------------- to ------------------------------
 at ______________ , with a certified copy of this judgment.


                                                                 UNITED STATES MARSHAL



                                    By                     DEPUTY UNITED STATES MARSHAL


                                                                                                       17CR0577-BAS
